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                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   BEAUMONT DIVISION


  UNITED STATES OF AMERICA                         §
                                                   §
  VS.                                              §    CASE NO. 1:06CR10(1)
                                                   §
  TOMMY DARE HANCOCK                               §


           FINDINGS OF FACT AND RECOMMENDATION ON PLEA OF TRUE
                BEFORE THE UNITED STATES MAGISTRATE JUDGE

         Pursuant to 28 U.S.C. § 636(b) and the Local Rules for the District Court, Eastern District

  of Texas, the District Court referred this matter for hearing and the submission of findings of fact

  and a report and recommendation pursuant to 18 U.S.C. §§ 3401(i) and 3583(e). The United States

  alleges that the defendant, Tommy Dare Hancock, violated conditions of supervised release

  imposed by United States District Judge Marcia A. Crone. The United States Probation Office filed

  its Petition for Warrant or Summons for Offender Under Supervision (doc. #121) requesting the

  revocation of the defendant’s supervised release. The Court conducted a hearing on April 29, 2015,

  in accordance with Federal Rules of Criminal Procedure 11, 32 and 32.1. The defendant was

  present and represented by counsel at the hearing. Having heard the evidence, this court factually



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  finds that the defendant has violated conditions of supervision and recommends that such violation

  warrants the revocation of his supervised release.

         After conducting the proceeding in the form and manner prescribed by Federal Rule of

  Criminal Procedure11, the Court finds:

         a.      That the defendant, after consultation with counsel of record, has knowingly, freely

  and voluntarily consented to the administration of the plea of true in this cause by a United States

  Magistrate Judge subject to a final approval and imposition of sentence by the District Court.

         b.      That the defendant is fully competent and capable of entering an informed plea, that

  the defendant is aware of the nature of the charges and the consequences of the plea, that his plea

  of true is a knowing and voluntary plea, not the result of force or threats, and that the plea is

  supported by an independent evidentiary basis in fact establishing each of the essential elements of

  the conduct.

                                   STATEMENT OF REASONS

         A. Procedural History

         On October 3, 2006, The Honorable Marcia A. Crone of the Eastern District of Texas

  sentenced defendant after he pled guilty to the offense of possession with intent to distribute 50

  grams or more, but less than 500 grams, of methamphetamine, a Class B felony. The Court

  sentenced the defendant to 115 months imprisonment followed by 5 years of supervised release

  subject to the standard conditions of release, plus special conditions to include drug testing, drug

  and treatment, and a $100 special assessment. On October 15, 2013, Mr. Hancock completed his

  period of imprisonment and began service of the supervision term.

         On February 24, 2015, the Court modified Mr. Hancock’s conditions of supervised release


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  to include placement on home detention for 90 days with electronic monitoring. The monitor was

  installed on March 18, 2015, and it was removed on April 21, 2015, when Mr. Hancock was

  arrested. Mr. Hancock has 55 days of unserved home detention.

         B. Allegations in Petition

         The United States Probation Office alleges that the defendant violated the following

  standard condition of supervised release:

         The defendant shall not leave the judicial district without permission of the Court or

         probation officer.

         Specifically, on or about August 21, 2014, Mr. Hancock traveled to Montgomery County,

  Texas without permission of the Court or probation officer. Also, on or about February 1, 2015,

  Mr. Hancock traveled to Hunt County, Texas, without permission of the Court or probation officer.

         C. Evidence presented at Hearing:

         At the hearing, the Government proffered the following evidence as its factual basis for the

  allegations set out supra. The Government would show that on February 1, 2015, Mr. Hancock was

  arrested by the Greenville Police Department in Hunt County, Texas, on a charge of possession of

  a controlled substance. The Government would also present evidence showing that Hunt County

  is outside of the Eastern District of Texas. Further, the Government would proffer testimony that

  Mr. Hancock traveled to Montgomery County, Texas - also outside of the Eastern District of Texas

  - on or about August 21, 2014. Finally, there would be testimony establishing that Mr. Hancock

  did not receive permission from his probation officer or the Court to travel outside of the Eastern

  District on either of the dates set forth above.

         Defendant, Tommy Dare Hancock, offered a plea of true to the allegations. Specifically,


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  he agreed with the evidence summarized above and pled true to the allegation that he traveled

  outside of the district without permission in violation of his supervision conditions.

         D. Sentencing Guidelines; Findings and Recommended Disposition

         The allegations, supporting evidence and plea of true warrant revocation of supervised

  release. See 18 U.S.C. § 3583(e)(3). The Court factually finds by a preponderance of the evidence

  that the defendant violated a standard condition of his supervised release by traveling outside of the

  Eastern District of Texas without permission. This conduct constitutes a Grade C violation under

  U.S.S.G. § 7B1.3(a)(1). Upon finding a Grade C violation, the Court may revoke the defendant’s

  supervised release. See U.S.S.G. § 7B1.3(a)(2).

         Based upon the Defendant’s criminal history category of VI and the Grade C violation, the

  sentencing guidelines suggest a sentence of imprisonment for a period ranging from 8 to 14 months.

  See U.S.S.G. § 7B1.4(a). Because the original offense of conviction was a Class B felony, the

  statutory maximum imprisonment term upon revocation is three (3) years. See 18 U.S.C.

  § 3583(e)(3).

         According to U.S.S.G. § 7B1.3(d), any restitution, fine, community confinement, home

  detention, or intermittent confinement previously imposed in connection with a sentence for which

  revocation is ordered that remains unpaid or unserved at the time of revocation shall be ordered to

  be paid or served in addition to the sanction determined under U.S.S.G. § 7B1.4, and any such

  unserved period of community confinement, home detention, or intermittent confinement may be

  converted to an equivalent period of imprisonment. In this case, according to the records submitted

  by the Probation Office, Mr. Hancock failed to serve 55 days of court-ordered home detention time.

         If the Court revokes a defendant’s term of supervision and orders the defendant to serve a


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  term of imprisonment for that revocation, the Court may also require that the defendant be placed

  on a new term of supervised release. See 18 U.S.C. § 3583(h). The length of this term of

  supervised release shall not exceed the term of supervised release authorized by statute for the

  offense which resulted in the original term of supervised release, less any term of imprisonment that

  was imposed upon revocation of supervised release. Id.                In this case, the authorized term of

  supervised release by statute is not more than life. See 18 U.S.C. § 3583(h); see also U.S.S.G. §

  7B1.3(g)(2).

             The Fifth Circuit states that Chapter 7 of the Sentencing Guidelines regarding the revocation

  of supervised release is advisory only. See United States v. Cade, 279 F.3d 265, 271 n.2 (5th Cir.

  2002) (citing United States v. Montez, 952 F.2d 854, 859 (5th Cir. 1992); United States v. Headrick,

  963 F.2d 777, 782 (5th Cir. 1992)). Because Chapter 7 was promulgated as an advisory policy

  statement and there are no applicable guidelines for sentencing after revocation of supervised

  release1, the Court may impose a greater or lesser sentence upon revocation. United States v.

  Gonzalez, 250 F.3d 923, 925 (5th Cir. 2001). Further, a sentence imposed for revocation will be

  upheld unless it is in violation of the law or plainly unreasonable. Id. See also United States v.

  Pena, 125 F.3d 285, 288 (5th Cir. 1997) (citations omitted).

             Here, the evidence and the defendant’s own admission supports a finding that the defendant

  violated his supervision conditions. Mr. Hancock pled true, agreed with the Court’s recommended

  sentence for that violation, and waived his right to allocute before the District Court.

             Accordingly, based upon the defendant’s plea of true, the agreement of the parties, and the



         1
          See U.S. Sentencing Guidelines Manual, Ch. 7, pt. A, cmt. 1 ("At this time, the Commission has chosen to
 promulgate policy statements only.")

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  evidence presented in this case, it is the recommendation of the undersigned United States

  Magistrate Judge that the District Court accept the plea of true and revoke Defendant’s supervised

  release. The undersigned magistrate judge recommends that the District Court order Defendant to

  serve a term of fourteen (14) months imprisonment. This term includes the 55 days of unserved

  home detention time. If possible, the Court recommends placement in the Federal Correctional

  Institution (FCI) in Big Spring, Texas, for the prison term.

         The Court further recommends that, upon his release from prison, the defendant serve a new

  term of supervised release of three (3) years. The new term of supervision should be subject to

  the mandatory and standard conditions adopted by the Court and imposed in the original judgment

  of conviction. The Court further finds that the special conditions stated in the judgment originally

  imposed by the District Court are still relevant based on the record of the case and the evidence

  submitted by the Probation Office in conjunction with the petition to revoke.

                                            OBJECTIONS

         Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen (14)

  days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1). A party’s failure to

  object bars that party from: (1) entitlement to de novo review by a district judge of proposed

  findings and recommendations, see Rodriguez v. Bowen, 857 F.2d 275, 276-77 (5th Cir. 1988), and

  (2) appellate review, except on grounds of plain error of unobjected-to factual findings and legal

  conclusions accepted by the district court, see Douglass v. United Servs. Auto. Ass’n., 79 F.3d 1415,

  1417 (5th Cir. 1996) (en banc). The constitutional safeguards afforded by Congress and the courts

  require that, when a party takes advantage of his right to object to a magistrate’s findings or

  recommendation, a district judge must exercise its nondelegable authority by considering the actual


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  evidence and not merely by reviewing and blindly adopting the magistrate judge’s report and

  recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620 (5th Cir. 1983); United States v.

  Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).



                   SIGNED this the 6th day of May, 2015.




                                                      ____________________________________
                                                      KEITH F. GIBLIN
                                                      UNITED STATES MAGISTRATE JUDGE




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